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                          GERSTMAN ScHWARTZ LLP
                                     A T T O R N E Y S            A T   L A W
                                              February 23, 2021
VIAECF

Hon. Paul G. Gardephe
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007

         Re:     Gregg Singer, Sing Fina Corp. and 9th & 10th Street LLC v. The City ofNew York
                 et al., Docket No.: 1: 18-cv-00615

                                         Letter To The Court

Dear Judge Gardephe:

        The undersigned represents Gregg Singer, Sing Fina Corp., and 9th & 10th Street LLC
("Plaintiffs"). This letter is submitted, alerting this Court that more than ninety (90) days have
passed without oral argument being scheduled or a decision rendered on Plaintiffs' Motion to
Reconsider. Because more than ninety (90) days have passed and the foregoing Motion to
Reconsider remains outstanding, Plaintiffs, as the movants, are required to submit this letter
informing the Court of this passage of time.

        Thank you for Your Honor's consideration.




CC:     All Counsel of Record




                                   GERSTMANSCHWARTZ.COM

      1399 Franklin Avenue, Suite 200, Garden City, N .Y. 11530    OFFICE.   516.880.8170   FAX:   516.880.8171
